
1 Cal.App.2d 436 (1934)
U. F. LEWIS et al., Respondents,
v.
CLARENCE A. SHAW et al., Defendants; HARRIETT MORROW, Appellant.
Civ. No. 1456. 
California Court of Appeals. Fourth Appellate District.  
October 16, 1934.
 No appearance for Appellant.
 No appearance for Respondents.
 Marks, J.
 [1] On May 9, 1933, Harriett Morrow appealed from an order denying her motion to dissolve an attachment. The clerk's transcript on appeal was filed here on July 1, 1933. As nothing further was filed, this court, on its own motion, on September 13, 1934, ordered *437 appellant to show cause why her appeal should not be dismissed. There has been no response to the order and no briefs filed. Under the authority of section 1 of rule V, Rules for the Supreme Court and District Courts of Appeal, the appeal is dismissed.
 Barnard, P. J., and Jennings, J., concurred.
